












Dismissed and Memorandum Opinion filed March 15, 2011.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-01241-CV

____________

&nbsp;

SONIA ESPINOZA, Appellant

&nbsp;

V.

&nbsp;

WINDCREST ON SHERWOOD FOREST, Appellee

&nbsp;



&nbsp;

On Appeal from the County Civil Court
at Law No. 3

Harris County, Texas

Trial Court Cause No. 976365

&nbsp;



&nbsp;

M E M O R
A N D U M &nbsp;&nbsp;O P I N I O N

This is an appeal from a judgment signed December 7, 2010. &nbsp;The
notice of appeal was filed December 13, 2010. &nbsp;To date, our records show that
appellant has neither established indigence nor paid the $175.00 appellate
filing fee. &nbsp;See Tex. R. App. P. 5
(requiring payment of fees in civil cases unless indigent); Tex. R. App. P. 20.1 (listing requirements for establishing
indigence); see also Order Regarding Fees Charged
in Civil Cases in the Supreme Court and the Courts of Appeals and Before the
Judicial Panel on Multidistrict Litigation, Misc. Docket No. 07-9138 (Tex. Aug.
28, 2007) (listing fees in court of appeals); Tex. Gov’t Code Ann.. ' 51.207 (Vernon 2005) (same). 

On February 3, 2011, this court ordered appellant to pay the
appellate filing fee on or before February 15, 2011, or the appeal would be
dismissed. &nbsp;Appellant has not paid the appellate filing fee. &nbsp;Accordingly, the
appeal is ordered dismissed. &nbsp;See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal of case because
appellant has failed to comply with notice from clerk requiring response or
other action within specified time).&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Frost and Christopher.

&nbsp;

&nbsp;





